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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                   §
In re:                                             § Chapter 11
                                                   §
PERMICO MIDSTREAM PARTNERS                         § Case No. 20-32437
HOLDINGS, LLC,                                     §
                                                   §
               Debtor.                             §
                                                   §
Tax I.D. No. XX-XXXXXXX                            §
                                                   §
In re:                                             § Chapter 11
                                                   §
PERMICO MIDSTREAM PARTNERS LLC,                    § Case No. 20-32438
                                                   §
               Debtor.                             §
                                                   §
Tax I.D. No. XX-XXXXXXX                            §


             DEBTORS’ MOTION FOR ENTRY OF AN ORDER DIRECTING
             JOINT ADMINISTRATION OF RELATED CHAPTER 11 CASES

         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
         YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
         MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING
         PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY
         TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE
         WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR
         RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED.
         IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE
         GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
         MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND
         THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
         MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
         MOTION AT THE HEARING.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this motion (this “Motion”):
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                                           RELIEF REQUESTED

         1.       The Debtors seek entry of an order, substantially in the form attached hereto (the

“Order”): (a) directing procedural consolidation and joint administration of the Debtors’ chapter

11 cases, and (b) granting related relief. The Debtors request that one file and one docket be

maintained for all of the jointly-administered cases under the case of Permico Midstream

Partners Holdings, LLC, and that the cases be administered under a consolidated caption, as

follows:

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                              § Chapter 11
In re:                                                        §
                                                              § Case No. 20-32437 (MI)
PERMICO MIDSTREAM PARTNERS                                    §
HOLDINGS, LLC, et al.,                                        § (Jointly Administered)
                                                              §
                  Debtors.1                                   §

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    The Debtors in these chapter 11 cases and the last four digits of their federal tax identification numbers are as
    follows: Permico Midstream Partners Holdings, LLC (6374) and Permico Midstream Partners LLC (7902). The
    location of the Debtors’ corporate headquarters and service address is 9301 Southwest Freeway, Suite 308,
    Houston, TX 77074.

         2.       The Debtors further request that the Court order that the foregoing caption

satisfies the requirements set forth in section 342(c)(1) of the Bankruptcy Code.

         3.       The Debtors also request that a docket entry, substantially similar to the following,

be entered on the docket of each of the Debtors, other than Permico Midstream Partners

Holdings, LLC, to reflect the joint administration of these chapter 11 cases:

         An order has been entered in accordance with Rule 1015(b) of the Federal Rules
         of Bankruptcy Procedure and Rule 1015-1 of the Local Rules of Bankruptcy
         Practice and Procedure of the United States Bankruptcy Court for the Southern
         District of Texas directing joint administration of the chapter 11 cases of: Permico
         Midstream Partners Holdings, LLC, Case No. 20-32437; and Permico Midstream
         Partners LLC, Case No. 20-32438. All further pleadings and other papers

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       shall be filed in, and all further docket entries shall be made in, Case No. 20-
       32437 (MI).

       4.       The Debtors further request authority to file any monthly operating reports and

post-effective date quarterly operating reports on a consolidated basis for the jointly-

administered Debtors, provided that income and disbursements are tracked and broken out on a

Debtor-by-Debtor basis.

                                 JURISDICTION AND VENUE

       5.       The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334.            This is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court may enter a final order consistent

with Article III of the United States Constitution. Venue is proper pursuant to 28 U.S.C. §§ 1408

and 1409.

       6.       The bases for the relief requested herein are sections 105(a) and 342(c) of title 11

of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), rules 1005, 1015

and 2002 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), rule 1015-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Procedures for Complex Chapter 11 Cases in the Southern District of Texas (the

“Complex Case Procedures”).

                                         BACKGROUND

       7.       On the date hereof (the “Petition Date”), the Debtors filed voluntary petitions in

this Court commencing these chapter 11 cases. The factual background regarding the Debtors

and the events leading to the filing of these chapter 11 cases is set forth in detail in the Debtors’

Motion for Entry of an Order Compelling the Turnover of Books and Records Documents from




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Permico Energia LLC and its Directors and Officers (the “Turnover Motion”), filed

contemporaneously herewith and which is fully incorporated herein by reference.

       8.       The Debtors continue to manage and operate their businesses as debtors in

possession pursuant to Bankruptcy Code sections 1107 and 1108. As of the date hereof, no

trustee or examiner has been requested in these chapter 11 cases, and no committees have been

appointed or designated.

                                     BASIS FOR RELIEF

       9.       Bankruptcy Rule 1015(b) provides that “if . . . two or more petitions are pending

in the same court by or against . . . a debtor and an affiliate, the court may order joint

administration of the estates” of the debtor and such affiliates. See Fed. R. Bankr. P. 1015(b).

The Debtor entities that commenced these chapter 11 cases include Permico Midstream Partners

Holdings, LLC and its subsidiary, Permico Midstream Partners LLC.

       10.      Section 101(2)(A) of the Bankruptcy Code provides that an “affiliate” is an

“entity that directly or indirectly owns, controls, or holds with power to vote, 20 percent or more

of the outstanding voting securities of the debtor . . . .” 11 U.S.C. § 101(2)(A). Permico

Midstream Partners Holdings, LLC, as sole member of Permico Midstream Partners LLC, holds

directly 20 percent or more of the outstanding equity interests of Permico Midstream Partners

LLC. As such, the Debtors are “affiliates” as that term is defined in section 101(2) of the

Bankruptcy Code and as used in Bankruptcy Rule 1015(b). Accordingly, the Bankruptcy Code

and the Bankruptcy Rules authorize the Court to grant the relief requested herein. Bankruptcy

Local Rule 1015-1 further provides for the joint administration of related chapter 11 cases.

       11.      Joint administration of these chapter 11 cases will provide significant

administrative convenience without harming the substantive rights of any party in interest. Many



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of the motions, hearings, and orders in these chapter 11 cases will affect each Debtor entity. The

entry of an order directing joint administration of these chapter 11 cases will reduce fees and

costs by avoiding duplicative filings and objections. Joint administration also will allow the

United States Trustee and all parties in interest to monitor these chapter 11 cases with greater

ease and efficiency.

       12.        The rights of the respective creditors of each of the Debtors will not be adversely

affected by joint administration of these cases inasmuch as the relief sought is purely procedural

and is in no way intended to affect substantive rights. Each creditor and party in interest will

maintain whatever rights it has against the particular estate in which it allegedly has a claim or

right. In addition, all creditors will benefit from the reduction in costs that will result from joint

administration.

       13.     The Debtors submit that use of this simplified caption, without reference to their

respective tax identification numbers and other detail specified by section 342(c) of the

Bankruptcy Code and Bankruptcy Rule 2002(n), will eliminate cumbersome and confusing

procedures and ensure a uniformity of pleading identification.          Further, such case-specific

information will be listed in the petitions for each Debtor, which are publicly available to parties

in interest or will be provided by the Debtors upon request; and this information will be included

in key notices to parties in interest, such as the notices required under Bankruptcy Rules

2002(a)(1), 2002(a)(7), and 2002(b), as made applicable to these chapter 11 cases. Therefore, the

Debtors submit that the policies behind the requirements of Bankruptcy Code section 342(c) and

Bankruptcy Rules 1005, 1015, and 2002(n) have been satisfied.

       14.     The Debtors submit that use of the simplified captioned proposed herein will

eliminate cumbersome and confusing procedures and ensure a uniformity of pleading



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identification. The names of each Debtor and their tax identification number will be set forth in

the footnote to the caption.      Therefore, the Debtors submit that the policies behind the

requirements of section 342 of the Bankruptcy Code and Bankruptcy Rules 1005, 1015, and

2002(n) have been satisfied.

                                             NOTICE

       15.     Notice of this Motion will be given to: (a) the Office of the United States Trustee

for the Southern District of Texas; (b) counsel to HGC Midstream INV LLC; (c) the United

States Attorney’s Office for the Southern District of Texas; (d) the Internal Revenue Service; (e)

the state attorneys general for states in which the Debtors conduct business; (f) the parties

identified on the master service list; and (g) all parties that have requested or that are required to

receive notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, under the

circumstances, no other or further notice is required.

                           [Remainder of Page Intentionally Left Blank]




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       The Debtors respectfully request entry of the Order, substantially in the form attached to

this Motion, granting the relief requested in the Motion and such other and further relief as may

be just and proper.

Dated: May 4, 2020                    Respectfully submitted,

                                      HUNTON ANDREWS KURTH LLP

                                      /s/ Joseph P. Rovira
                                      Timothy A. (“Tad”) Davidson II (TX Bar No. 24012503)
                                      Joseph P. Rovira (TX Bar No. 24066008)
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                                      Proposed Counsel for the Debtors and Debtors in
                                      Possession




                                CERTIFICATE OF SERVICE

        I certify that on May 4, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                            /s/ Joseph P. Rovira
                                                            Joseph P. Rovira




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